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5:21-mj-00125-01

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AFFIDAVIT

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i four affiant has been employed as a Special Agent with the Federal Bureau of

 
    

Investigation since 2007. As part of my duties as an FBI Special Agent, affiant is
charged with enforcing federal law and conducting investigations related to federal
crimes. Affiant has received training and participated in numerous FBI
investigations which have involved the use of the internet, social media, electronic
mail (email), cellular telephones and computers

1. On the evening of September 16, 2021, the FBI received an online
complaint via the National Threat Operations Center regarding social media posts
made by user “SeiZ” to an identified digital distribution platform (digital platform 1)!.
The complaint noted the individual in question had been a “formerly calm member of
an online community (who) has had a mental breakdown, threatening violence,
doxing, talking about the supposed fun of school shootings, being racist and
homophobic, and making pedophilic comments.” The complainant, whose identifying
information indicated they were likely based in Europe, provided specific posts of

which one, dated 9/10/2021, is copied below:

 

! Digital platform 1 is a global group chatting application that originally provided “gamers” with
a place to organize and chat. However, since its launch the platform has expanded and now
boasts over 140 million global users with a majority using the site for nongaming purposes or a
mix of nongaming and everyday use. According to the company’s privacy policy, digital
platform 1 is located in the United States.
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nA
| want to literally shoot up a school full of children and a bus full of niggers.

Already have your address bookmarked, watch out fucker.

BY Mee teehee

t won't use my dick, but I will use a knife up his ass repeatedly.

How old are you.

ited tk

Neod to be under 18 for me to fuck you

No you won't, you will be tied up on the ground with half your eye hashed in idiot and suffering from the brain damage | gave you
You won't be even able to comprehend a fucking word because you're already mentally disabled.
tf you want the knife up your ass, I'll fucking do that too.

Pa aa ln

fll show you the knife I'll stuck up your ass.

I don't give a fuck, send the cops and | will kili then too.

This one is going up your fucking ass.

ard /'ll go ahead and cut your dick off too.

Then shove it into your own fucking mouth.

Actually I'll shove your brother's dick into your mouth and then shove your dick into your brother's mouth

You same fucking idiots who fiterally said you reported me to the cops on Twitter and they never show up Imao

After | told you | was going to shoot up a school and after | told you | am going to find underage girls to rape and murder

You cannot send messages to a user you have blocked.

 
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2. On September 16, 2021, law enforcement obtained records from digital
platform 1 via an emergency records request that provided an email address and a
specific IP address for activity between September 9** and September 10. Using this
specific IP address, law enforcement obtained records from Internet Service Provider
1 who provided records that this account was registered to Man Nquyen (sic), 850
Surrey Road, Shreveport, Louisiana.

3. On September 17, 2021, law enforcement attempted to speak in person
with Man Nguyen, 850 Surrey Road, Shreveport, but was unsuccessful. Using the IP
address provided by digital platform 1, law enforcement also obtained records via an
emergency disclosure from social media provider 1 that indicated the user of this
account was also Man Nguyen, 850 Surrey Road, Shreveport, Louisiana 71105. Your
affiant validated this information via a review of property records that indicate this
individual was a partial owner of this property.

A. On September 17, 2021, your affiant and an officer of the Shreveport
Police Department conducted an interview at this address and spoke to several
individuals who lived there including Man and PETER NGUYEN. PETER NGUYEN
acknowledged he had made the threatening posts on digital platform 1. He said he
had been dealing with a lot of “stuff? for months regarding his mental health.
Specifically, he had told his mother he needed to speak to a psychologist but had not
yet done so.

5. NGUYEN said he had previously thought about committing a school

shooting. NGUYEN described what he said were dreams and violent visions he had
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of school shootings. He said these dreams and visions were an outlet that in some
ways helped him cope with these thoughts.

6. NGUYEN was shown both of the above screen shots from digital
platform 1. He confirmed he had made both these posts and that his username was
SeiZ. NGUYEN reviewed the second posting with the image of the knife for a longer
time than the posting related to the shooting. He said this post with the knife that
said he was going to stab someone was not something he would really have done. At
the conclusion of the interview, NGUYEN was taken into custody for a psychological
evaluation.

7. Section 875 of Title 18 prohibits the transmission in interstate or foreign
commerce of, inter alia, a threat to kidnap or injure any person, either with or without
the intent to extort. Title 18, United States Code, Section 875 applies to both
interstate and foreign telephone calls or other communications. Thus, any
communication that crosses state or national borders is included within the scope of
the provision.

8. It is your affiant’s training and experience that the communications
made by NGUYEN on digital media platform 1 were made in both interstate and
foreign communication. Specifically, digital media platform 1 is a global media
application and the complaint was filed by an individual who appears to reside in

Europe.
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9. Based on the above facts and circumstances, your affiant believes that
sufficient probable cause exists for the arrest of NGUYEN based on a violation of 18

U.S.C. § 875(c), Interstate Communications, on or about September 10, 2021.

TF tat fhe

Matthew R. Johnson
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me this 21st day of September, 2021.

$3

Mark L. Hornsby
United States Magistrate Judge
